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                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
      JOHN PICKERING,                                  CASE NO. C24-00592-KKE
 8
                            Plaintiff,
             v.                                        ORDER DENYING MOTION FOR
 9
                                                       SERVICE BY U.S. MARSHALS
      AMAZON.COM INC et al.,
10
                    Defendants.
11

12          John Pickering, proceeding pro se, asks the Court to order the U.S. Marshals Service to

13   serve his complaint on the defendants. Dkt. No. 5. Mr. Pickering’s motion does not contain any

14   argument as to why he is entitled to service by the U.S. Marshals. Plaintiffs who are authorized to

15   proceed in forma pauperis (“IFP”) are entitled to have their summons and complaint served by

16   the U.S. Marshal Service. Fed. R. Civ. P. 4(c)(3); 28 U.S.C. § 1915(d). Because his motion to

17   proceed IFP was denied, Mr. Pickering is not entitled to such service. Dkt. No. 4.

18          Because Mr. Pickering is not entitled to service by U.S. Marshals, and because he provides

19   the Court no other basis for granting his request, his motion is DENIED.

20

21          Dated this 24th day of June, 2024.

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23                                                A
                                                  Kymberly K. Evanson
24                                                United States District Judge


     ORDER DENYING MOTION FOR SERVICE BY U.S. MARSHALS - 1
